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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF CGLORADO
Banl<ruptcy Judge Sidney Brooks

 

ln re: )
) Bankruptcy Case No.
GARY DAVlD HAUCK and ) 10-3 0894-SBB
BRENDA KAY HAUCK, ) Chapter 7
Debtors. )
)
Last four digits ofSS#: 3149 and 0812 )
)
)
)
STEPHANIE l\/l. MARTIN, )
Plaintiff, )
)
v. ) Adversary Proceeding No.
) lO~Ol 8 S-SBB
GARY DAVlD HAUCK and )
BRENDA KAY HAUCK, )
Defendants. )

()RDER RE DEBTORS/DEFENDANTS’ UNOPPOSED MOTION FOR
EXTENSION ()F DEADLINE FOR FILING CROSS-MOTIONS FOR SUMMARY
JUDGMENT

THIS MATTER has come before the Court on the unopposed motion of
Debtors/Defendants to extend the deadline for the parties to file their respective cross
motions for summary judgment The Court being advised in the premises therefor hereby

ORDERS that said motion is granted, and the parties shall have to and including

August 15, 2011 to submit their cross-motions for summary judgment

BY THE COURT:

 

Hon. Sidney B. Brooks
United States Bankruptcy Court Judge

